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 7   United States of America

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:10-cr-00249-AWI-BAM-2
12                                  Plaintiff,              STIPULATION TO EXTEND
                                                            SURRENDER DATE; ORDER
13   v.
                                                            JUDGE: Hon. Anthony W. Ishii
14   MONICA MARIE HERNANDEZ,
15                                  Defendant.
16

17                                               STIPULATION
18             The United States of America, by and through its counsel of record, and defendant, by and
19
     through her counsel of record, hereby stipulate as follows:
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               1.     On January 5, 2015, the defendant was sentenced by the Court to a term of
21
     imprisonment and supervised release, following a guilty plea to one count of conspiracy to commit
22
23 mail, wire fraud and bank fraud (18 U.S.C. § 1349).

24             2.     The defendant was ordered to self-surrender not later than 2:00 p.m. on March 2,

25 2015, to the institution designated by the Bureau of Prisons or if no such designation had been made
26 to the custody of the United States Marshal Service located in the Eastern District of California,

27
     Fresno.
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            3.      By this stipulation, the parties agree, subject to the Court’s approval, to extend the
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     defendant’s self-surrender date by two weeks, to March 16, 2015, at 2:00 p.m. The defendant
 2

 3 requests these two additional weeks to self-surrender in order to address a health issue that has arisen

 4 regarding one of her minor children, and indicates that she does not anticipate requesting any further

 5 extension of her self-surrender date. The government does not object to the requested extension.

 6
     IT IS SO STIPULATED.
 7

 8 DATED:           February 19, 2015
                                           /s/ Henry Z. Carbajal III
 9                                         HENRY Z. CARBAJAL III
                                           Assistant United States Attorney
10

11 DATED:           February 19, 2015

12                                         /s/W. Scott Quinlan
                                           W. SCOTT QUINLAN
13                                         Counsel for Defendant
                                           MONICA MARIE HERNANDEZ
14

15                                                 ORDER

16
            IT IS ORDERED that the deadline for defendant Monica Marie Hernandez to self-surrender
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     shall be extended by two weeks. The defendant shall self-surrender not later than 2:00 p.m. on
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     March 16, 2015, to the institution designated by the Bureau of Prisons or if no such designation had
19
     been made to the custody of the United States Marshal Service located in the Eastern District of
20
     California, Fresno.
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22 IT IS SO ORDERED.
23 Dated: February 19, 2015
                                                  SENIOR DISTRICT JUDGE
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